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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

    KIM ALBECK,                                      )
                                                     )        Case No. 1:20-cv-07727
                   Plaintiff,                        )
                                                     )
    vs.                                              )        Honorable Franklin U. Valderrama
                                                     )
    PHH MORTGAGE CORPORATION,                        )
                                                     )
                   Defendant.                        )


              PLAINTIFF'S REPLY IN SUPPORT OF HER MOTION TO LIFT
               THE STAY, CONFIRM ARBITRATION FINAL AWARD AND
            ENTER JUDGMENT INCLUDING POST-AWARD, PRE-JUDGMENT
          INTEREST [D.E. 51] AND RESPONSE IN OPPOSITION TO DEFENDANT'S
             CROSS-MOTION TO VACATE ARBITRATION AWARD [D.E. 60]

          Plaintiff, Kim Albeck, submits this reply in support of her Motion to Lift the Stay, Confirm

Arbitration Final Award and Enter Judgment Including Post-Award, Prejudgment Interest [D.E.

51] and her response to Defendant’s Cross-Motion to Vacate Arbitration Award [D.E. 60].

                                           INTRODUCTION

          Defendant asks the Court to partially vacate 1 that portion of the Final Award that awarded

Plaintiff prevailing party attorney’s fees. The sole argument advanced is that the Arbitrator

exceeded her powers. That argument fails because the arbitrability of attorney’s fees was delegated

to the Arbitrator and she had plenary authority to determine the scope of her arbitral authority, the

dispute of this issue was actually submitted to the Arbitrator for determination, Defendant did not


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  Subsequent to Plaintiff filing the motion to confirm the award and enter judgment [D.E. 51] and Defendant
filing the motion to partially vacate the award [D.E. 60], the parties agreed to resolve the compensatory and
punitive damages portion of the arbitrator’s award. Pursuant to that agreement, Plaintiff amends its motion
and does not seek to confirm the arbitrator’s award of compensatory and punitive damages and Defendant
withdraws its motion to the extent that it sought to vacate the arbitrator’s award of compensatory and
punitive damages. The parties agree that the only issue remaining to be resolved in this action is
confirmation or vacatur of the attorney’s fees portion of the arbitrator’s award.
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object to the scope of the Arbitrator’s power to decide the dispute and participated in the

arbitration. Defendant cannot now challenge the authority of the Arbitrator to act because the

decision is adverse. “Although, arbitration is supposed to be a procedure through which a dispute

can be resolved privately, with the narrowest of exceptions for court intervention, losers sometimes

cannot resist the urge to try for a second bite at the apple.” Johnson Controls, Inc. v. Edman

Controls, Inc., 712 F.3d 1021, 1025 (7th Cir. 2013). The motion is thus without basis and should

be summarily denied.

       PROCEDURAL BACKGROUND AND AGREEMENT TO ARBITRATE

       These facts are not in dispute: Plaintiff commenced this action by filing a complaint against

Defendant PHH Mortgage Corporation (“PHH”) in this Court on December 24, 2020 [D.E. 1].

That complaint detailed a dispute between Kim Albeck (“Albeck”) and PHH arising out of the

servicing of a home mortgage. Albeck asserted, inter alia, a claim that PHH violated the Illinois

Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/1 et. seq. (“ICFA”), and

she sought a judgment against PHH for compensatory and punitive damages, and an award of

prevailing party attorney’s fees and costs. [D.E.1, pp.42-46]. Subsequently, the parties entered into

an agreement to arbitrate this dispute and filed a joint motion to stay the case pending arbitration

[D.E. 33]. The parties proceeded with arbitration before the Hon. Susan Zwick (Ret.) (the

“Arbitrator”) on February 21, 2022. Following a five-day hearing, the Arbitrator issued an interim

award on May 20, 2022 (D.E.. 51-3 at 31-54) and a final award (the “Award”) on September 29,

2022 (D.E.. 51-2). The Award found in Plaintiff’s favor as to her ICFA claims and rejected her

remaining allegations (D.E. 51-2 at 7).

       PHH’s description of the parties’ agreement to arbitrate is correct only as far as it goes.

The Agreement for Arbitration of Disputes (the “Agreement”) recites that the arbitration would be


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administered by the American Arbitration Association (“AAA”) pursuant to its Commercial

Arbitration Rules and governed by the Federal Arbitration Act (the “FAA”). (D.E. 51-1). The

parties’ agreement to arbitrate was further documented in an email exchange between the parties’

respective counsels which incorporated the Agreement and reiterated the parties’ desire to

empower the Arbitrator pursuant to the Commercial Arbitration Rules of the AAA. A copy of the

email is attached hereto as Exhibit 1. The applicable AAA rules are attached as Exhibit 2.

       On May 13, 2021, Albeck filed with the AAA and served on PHH her demand for

arbitration (”Demand”) attached as Exhibit 3. Notably, the Demand specifically placed in dispute

attorney’s fees in the prescribed form under the heading “Other Relief Sought.” Also, Albeck

attached to the Demand a copy of the complaint filed in this action, which also sought an award of

prevailing party attorney’s fees pursuant to ICFA. The parties’ specific incorporation of the AAA

Commercial Rules into their agreement to arbitrate was also reflected in the Report of Preliminary

Arbitration Teleconference and Case Management Order No. 1 (D.E. 51-3). PHH had the

opportunity to file an answering statement within 14 days of Albeck’s Demand, but PHH chose

not to do so and was deemed to deny the claim made in the Demand. See, AAA Rule 5(a).

       PHH fails to inform the Court that it made the very same argument it makes here in a

motion to modify that it filed following the Arbitrator’s Interim Award (Exhibit 4). Exhibit 5 is

Albeck’s response. Exhibit 6 is the reply filed by PHH. The Arbitrator’s order denying the motion

to modify is Exhibit 7. PHH also filed a response to the attorney’s fee petition attached as Exhibit

8. Exhibits 4, 6, and 8 show PHH had three post-hearing opportunities to make its case to the

Arbitrator; PHH’s arguments were fully developed; the Arbitrator considered the arguments made

on the merits; and the Arbitrator ruled against PHH on the merits.




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        PHH voluntarily litigated the question of attorney’s fees on the merits in the arbitration and

would have assuredly accepted a winning ruling from the Arbitrator on this question. Only because

PHH lost in Arbitration does it come to this Court for a second bite of the apple. At no time did

PHH object to the Demand seeking attorney’s fees. Only after learning that it would lose on the

merits did PHH make its argument that the Arbitrator had exceeded the scope of her powers. The

Arbitrator considered PHH’s arguments and then ruled against PHH on the merits. The parties

agreed to arbitrate and further agreed that the Arbitrator had the power to determine the scope of

the matters to be arbitrated. Having lost, PHH now invites this Court to engage in an ultra vires

review of Arbitrator’s factual and legal finding. That invitation must be declined.

                                  APPLICABLE STANDARDS

        The Federal Arbitration Act, 9 U.S.C. §1 et seq. (“FAA”) provides the sole means for

vacating an arbitral award. Hall St. Associates, L.L.C. v. Mattel, Inc., 552 U.S. 576, 128 S. Ct.

1396, 170 L. Ed. 2d 254 (2008). An arbitral award must be confirmed unless it is vacated,

modified, or corrected, 9 U.S.C. § 9, and may be vacated in only four circumstances, set out in 9

U.S.C. § 10(a)(1)-(4). While there are four grounds in Section 10, PHH proceeds under only the

first prong of one of them: “where the arbitrators exceeded their powers.” 9 U.S.C. § 10(a).

"Judicial review of arbitration awards is tightly limited. Confirmation is usually routine or

summary, and a court will set aside an arbitration award only in very unusual circumstances."

Bartlit Beck LLP v. Okada, 25 F.4th 519, 522 (7th Cir. 2022). District courts are not permitted to

"engage[] in judicial review of arbitration awards under the Federal Arbitration Act. . . ." Wise v.

Wachovia Sec., LLC, 450 F.3d 265, 269 (7th Cir. 2006) (citing Baravati v. Josephthal, Lyon &

Ross, Inc., 28 F.3d 704, 706 (7th Cir.1994)). Under the FAA, “errors in the arbitrator’s

interpretation of the law or findings of fact do not merit reversal. . . .” Flexible Mfg. Sys. Pty. Ltd.


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v Super Products Corp., 86 F.3d 96, 100 (7th Cir. 1996) (quoting Gingiss Int’l, Inc. v Bormet, 58

F.3d 328, 333 (7th Cir. 1995)).

        A party seeking relief under this provision "bears a heavy burden." Oxford Health Plans

LLC v. Sutter, 569 U.S. 564, 569 (2013) (an arbitral decision even arguably construing or applying

the contract must stand; it is not enough to show error, even serious error, and a court may overturn

the decision only if the arbitrator acted outside the scope of his contractually delegated authority);

see also Halim v. Great Gatsby's Auction Gallery, Inc., 516 F.3d 557, 563 (7th Cir. 2008) ("Factual

or legal error, no matter how gross, is insufficient to support overturning an arbitration award.");

Wise v. Wachovia Sec., LLC, 450 F.3d 265, 269 (7th Cir. 2006) ("It is tempting to think that courts

are engaged in judicial review of arbitration awards under the [FAA], but they are not. . . . [I]n the

typical arbitration . . . the issue for the court is not whether the contract interpretation is incorrect

or even wacky but whether the arbitrators had failed to interpret the contract at all . . . .") (citations

omitted).

                                            ARGUMENT

        Under these standards, the Award at issue here must be confirmed. The parties’ agreement

to engage in arbitration under the commercial rules means the Arbitrator had the power to interpret

the arbitrability of prevailing party attorney’s fees. The parties submitted the dispute to the

Arbitrator for ruling on the merits, each party participated in the arbitration without objecting to

the scope of the matters in dispute, and her decision to award fees comports with a reasoned

analysis of the agreement to arbitrate, applicable rules, and state substantive law. Confirmation of

the Final Award is required pursuant to the FAA.

A.    The Arbitrator Properly Determined She Had the Power to Award Prevailing Party
Attorney’s Fees.




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        "[P]arties can agree to arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether the

parties have agreed to arbitrate or whether their agreement covers a particular controversy." Rent-

A-Ctr., West, Inc. v. Jackson, 561 U.S. 63, 68-69 (2010). Where the parties to an arbitration

agreement "clearly and unmistakably" agree that an arbitrator will decide gateway issues, the

arbitrator, rather than the Court, will decide those issues. AT & T Techs., Inc. v. Commc'ns Workers

of Am., 475 U.S. 643, 649 (1986). "Such [c]lear and unmistakable evidence of agreement to

arbitrate arbitrability might include ... a course of conduct demonstrating assent ... or ... an express

agreement to do so." Momot v. Mastro, 652 F.3d 982, 988 (9th Cir. 2011) (citations and internal

quotation marks omitted). "When the parties' contract delegates the arbitrability question to an

arbitrator, a court may not override the contract" and "possesses no power to decide the arbitrability

issue." Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 528-29 (2019; First

Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 943 (1995).

        When parties agree in a valid arbitration agreement that the AAA rules apply, an arbitrator

has jurisdiction to decide the scope of arbitrability. In re Dealer Mgmt. Sys. Antitrust Litig., 2020

WL 832365, *5 (N.D. Ill. 2020) (delegation clause incorporating the AAA Rules "constitutes clear

and unmistakable evidence that the parties intended the question of arbitrability to be decided by

an arbitrator" (quotations omitted)); Bayer CropScience, Inc. v. Limagrain Genetics Corp., Inc.,

2004 WL 2931284, *4 (N.D. Ill. 2004) ("The inclusion of the phrase `the arbitration shall be

conducted . . . in accordance with the prevailing commercial arbitration rules of the American

Arbitration Association' in the arbitration provision of the Agreement is clear and unmistakable

evidence that the issue of arbitrability is to be submitted to the arbitrator."); see also Yellow Cab

Affiliation, Inc. v. N.H. Ins. Co., 2011 WL 307617, *4 (N.D. Ill. 2011) (arbitrability is a decision

for the arbitrator when the parties mention the commercial rules of the AAA). This remains "true


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even if the court thinks that the argument that the arbitration agreement applies to a particular

dispute is wholly groundless." Henry Schein, 139 S. Ct. at 529. That is also the prevailing view in

this district.2

        AAA Rule 7(a) provides that “[t]he arbitrator shall have the power to rule on his or her

own jurisdiction.” AAA Rule 8 provides “The arbitrator shall interpret and apply these rules

insofar as they relate to the arbitrator’s powers and duties.” Thus, by incorporating the AAA rules

into the agreement to arbitrate, PHH ceded the question of the Arbitrator’s powers to the Arbitrator

and the Arbitrator exercised her powers to interpret and apply the AAA rules after consideration

on the merits.

        Who decides the scope of the matters to arbitrated matters because de novo review is not

proper where the arbitrability question has been delegated to the arbitrator. “Factual or legal errors

by arbitrators—even clear or gross errors—do not authorize courts to annul awards." Gingiss Int'l,

Inc. v. Bormet, 58 F.3d 328, 333 (7th Cir. 1995) (internal citations omitted); see also Johnson

Controls, Inc. v. Edman Controls, Inc., 712 F.3d at 1025 (refusing to overturn an award even if the

"arbitrator committed serious error, or the decision is incorrect or even whacky") (internal citation

omitted); See Halim v. Great Gatsby's Auction Gallery, Inc., 516 F.3d 557, 563 (7th Cir. 2008)

("Factual or legal error, no matter how gross, is insufficient to support overturning an arbitration

award."). Indeed, "manifest disregard of the law is not a ground on which a court may reject an

arbitrator's award" unless it orders parties to do something that they could not otherwise do legally

(e.g., form a cartel to fix prices). Affymax, Inc. v. Ortho-McNeil-Janssen Pharm., Inc., 660 F.3d


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  Courts within the Northern District of Illinois have routinely concluded that “when parties agree in a valid
arbitration agreement that the [AAA] rules apply, an arbitrator should decide the scope of arbitrability.”
20/20 Foresight, Inc. v. McGuffin, 20 C 6915, 2021 WL 619718, at *3 (N.D. Ill. Feb. 17, 2021); see also
Ali v. Vehi-Ship, LLC, 17 CV 02688, 2017 WL 5890876, at *3–4 (N.D. Ill. Nov. 27, 2017) (where
Commercial Arbitration Rules of the AAA were incorporated by reference into the arbitration agreement,
the court concluded that “the parties intended to arbitrate gateway arbitrability issues”).
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281, 285 (7th Cir. 2011); George Watts & Son, Inc. v. Tiffany & Co., 248 F.3d 577, 580 (7th Cir.

2001).

         Thus, PHH’s argument that the Arbitrator got the law wrong on the merits is irrelevant.

This Court cannot conduct a de novo review of that determination. First Options of Chi., Inc. v.

Kaplan, 514 U.S. 938, 943, 115 S.Ct. 1920, 131 L.Ed.2d 985 (1995) (“Did the parties agree to

submit the arbitrability question itself to arbitration? If so, then the court's standard for reviewing

the arbitrator's decision about that matter should not differ from the standard courts apply when

they review any other matter that parties have agreed to arbitrate.”). Having established that the

attorney's fees award was within the Arbitrator's power, this Court is compelled to defer to her

interpretation of law and findings of fact in making the Award. Eljer Mfg., Inc. v. Kowin

Development Corp., 14 F. 3d 1250, 1257 (7th Cir. 1994) (“We emphasize yet again that on factual

and legal questions falling within the arbitrator's authority, we defer to his decision.”).

         PHH relies upon the normal presumption that the scope of arbitration is a decision for the

reviewing court to make, but this is only true in cases where the arbitrability question was not

delegated to the arbitrator. Authorities cited by PHH which involve arbitration agreements that did

not incorporate AAA rules or otherwise delegate the question of arbitrability to the arbitrator offer

no support for PHH’s position. The comparison is apples to oranges. See, e.g. Volt Info. Sciences,

Inc. v. Bd. of Trustees of Leland Stanford Jr. U., 489 US 468, 487 (1989) (“Where the parties have

agreed to abide by state rules of arbitration, enforcing those rules according to the terms of the

agreement is fully consistent with the goals of the FAA, even if the result is that arbitration is

stayed where the Act would otherwise permit it to go forward.”); Anheuser-Busch, Inc. v. Beer

Workers Local Union 744, 280 F.3d 1133, 1135 (7th Cir. 2002) (holding arbitrator exceeded his

authority where he disregarded language in the arbitration agreement providing it was the only


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source of the parties’ agreement and expressly provided the arbitrator had "no authority to add to,

subtract from, modify or change" the agreement); Tootsie Roll Indus., Inc. v. Loc. Union No. 1,

Bakery, Confectionery & Tobacco Workers’ Int’l Union, 832 F.2d 81, 84 (7th Cir. 1987)

(upholding vacatur of arbitration award where arbitrator evaluated a grievance based on factors

extrinsic to the collective bargaining agreement in order to find in the union’s favor on a matter

that should not have been submitted to arbitration because it was not arbitrable according the

agreement).

        It should also be noted that the Arbitration Agreement itself was not silent on exceptions

from arbitrability and actually carved out several issues that could not be considered disputes

covered by the Agreement in a paragraph entitled “Exceptions.” D.E. 51-1. None of the

enumerated exceptions touch on the Arbitrator’s power to award prevailing attorney’s fees under

the ICFA, or shift arbitrability of that remedy from the Arbitrator to the Court. Because the parties

here agreed to delegate that authority to the Arbitrator, the decisions relied upon by PHH in its

cross motion have no precedential value.

B.      PHH Waived Any Objection As to the Scope of the Arbitration.

        Albeck’s Demand for arbitration and the complaint attached to it placed the issue of

prevailing party attorney’s fees squarely before the Arbitrator. PHH chose not to file an answering

statement pursuant to AAA Rule 5 and did not seek a ruling that arbitration of the prevailing party

fees was an issue beyond the scope of the Arbitrator’s powers. PHH did not ask the Arbitrator to

file a dispositive motion on the issue as was its right to do under AAA Rule 33. When PHH did

not make a written objection to the arbitrability of attorney’s fees at the outset of the arbitration, it

waived its ability to later make any argument that the Arbitrator exceeded her powers by awarding

fees. As established above, the Arbitrator had plenary authority to decide her own jurisdiction over


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the claims to be arbitrated. By its conduct, PHH further conferred jurisdiction on the Arbitrator to

decide the issue.

        The AAA Rules are dispositive on the issue of waiver. Rule 7(c) states “A party must object

to the jurisdiction of the arbitrator or to the arbitrability of a claim or counterclaim no later than

the filing of the answering statement to the claim or counterclaim that gives rise to the objection.”

AAA Rule 41 states: “Any party who proceeds with the arbitration after knowledge that any

provision or requirement of these rules has not been complied with and who fails to state an

objection in writing shall be deemed to have waived the right to object.”

        Here, PHH proceeded with the arbitration despite its knowledge that the Demand and the

attached complaint made abundantly clear Albeck sought an award of prevailing party attorney’s

fees. PHH did not raise any objection in writing until after the arbitration hearing had concluded

and the Arbitrator had issued her Interim Award. PHH waived that argument and is barred by AAA

rules from raising it here. See e.g. Health Services Management Corp. v. Hughes, 975 F. 2d 1253,

1261-63 (7th Cir, 1992) citing Gibbons v. United Transp. Union, 462 F.Supp. 838, 842 (N.D. Ill.

1978) (Defects in proceedings prior to or during arbitration may be waived if a party acquiesces

to arbitration with knowledge of defect); Davis v. Producers Agr. Ins. Co., 762 F. 3d 1276, 1287

(11th Cir. 2014); Ficek v. Southern Pacific Co., 338 F.2d 655, 657 (9th Cir. 1964) ("A claimant

may not voluntarily submit his claim to arbitration, await the outcome, and, if the decision is

unfavorable, then challenge the authority of the arbitrators to act.").

C.      The Arbitrator Reached the Correct Decision on the Merits.

        PHH has put before the Court arguments the Arbitrator has already rejected on the merits.

In Exhibits 4-8 hereto, PHH made its motion to modify containing these arguments, Albeck

responded, PHH replied and the Arbitrator denied PHH’s motion. PHH then opposed the motion


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for attorney’s fees repeating many of the arguments raised in Exhibits 4 and 6, and herein. In

Exhibit 4, PHH’s motion to modify the Interim Award, PHH cited the language of the arbitration

agreement at issue here and argued: “Arbitration agreements that prohibit fee shifting under ICFA

are enforceable under these circumstances where there is no issue with the formation of the

contract. Morgan v. Bill Kay Chrysler Plymouth, 2002 WL 31133102, *3 (N.D. Ill. July 17, 2002)

(Gottschall, J.) (enforcing arbitration agreement prohibiting fee-shifting under ICFA

notwithstanding 815 ILCS 505 §10a(c)).” Exhibit 4, p. 7. In response, Albeck pointed to the

Demand which clearly sought prevailing party attorney’s fees and the complaint initiating this

action which was attached to the Demand. Exhibit 5, pp 4-5. Albeck also pointed out that her

closing argument specifically asked for an award of attorney’s fees, and that argument was not

countered by PHH in its post-hearing closing argument. Id. at 5. Albeck also argued that the

inclusion of the AAA rules into the parties’ agreement conferred upon the Arbitrator the

jurisdiction to interpret the arbitrability of the dispute. Id. at p. 6. Finally, Albeck cited authorities

holding that agreements requiring each party to bear their own attorney fees and costs, regardless

of which party prevails, conflict with the legislative intent underlying the Federal Arbitration Act

and the Illinois Consumer Fraud Act. Id. at pp. 8-9. These pleadings make clear that the parties

fully developed and presented their merits arguments on the dispute to the Arbitrator.

        By order entered June 7, 2022, the Arbitrator denied PHH’s motion to modify the Interim

award, stating:

        I THE UNDERSIGNED ARBITRATOR having been designated in accordance
        with the arbitration agreement entered into between the above-named parties and
        dated April 13, 2004 and having been duly sworn, and having duly heard the
        proofs and allegations of the Parties, and having previously rendered an Interim
        Award dated May 20, 2022:

        RESPONDENT having filed an application for MODIFICATION dated May 31,
        2022, and CLAIMANT having responded by letter dated June 4, 2022, and

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        RESPONDENT, having filed a Reply on June 6, 2022;

        Upon review of the above-stated filings, hereby, DENY, the application.

        In all other respects the Interim Award dated May 20, 2022, is reaffirmed and
        remains in full force and effect.

See Exhibit 7 (Emphasis added). PHH argues in its present motion that the Arbitrator only

addressed the issue of attorney’s fees in a footnote in the Award. That is not correct. As the

referenced order made clear, the Arbitrator first addressed the arguments in her June 7, 2022 order

which she entered after “having duly heard the proofs and allegations of the Parties” and

“[u]pon review of the above-stated filings.” The Arbitrator was not obligated to expound upon

her decision in a lengthy written opinion. Eljer Mfg., Inc. v. Kowin Development Corp., 14 F. 3d

1250, 1254 (7th Cir. 1994)(“[A]n arbitrator is simply not required to state the reasons for his

decision.”); Chi. Typographical Union No. 16 v. Chi. Sun-Times, Inc., 935 F.2d 1501, 1506 (7th

Cir. 1991) (“Arbitrators are not required to write opinions, any more than juries are.”); Anderson

v. Golf Mill Ford, Inc., 890 N.E.2d 1023, 1028 (Ill. App. Ct. 2008) (“Arbitrators have no obligation

to explain their decisions in writing”). That principle is now set forth in AAA Rule 46(b). At no

time did the parties request a reasoned award. Holden v. Deloitte and Touche LLP, 390 F. Supp.

2d 752, 780 (N.D. Ill. 2005) (“[F]ailure to provide a reasoned award cannot form the basis for

finding that the Arbitrator exceeded his powers. Indeed, it is very strange to assert that an arbitrator

has exceeded his powers by not doing enough.”).

        This Court must presume that the Arbitrator analyzed two conflicting interpretations of the

arbitration agreement and made a reasoned decision as to why she had the power to award

prevailing party attorney’s fees. A contract can also be ambiguous when one provision limits relief

that may be sought, while another references the rules of the arbitration service provider which do

not limit the relief granted. Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 115 S.

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Ct. 1212, 131 L. Ed. 2d 76 (1995). The Award adopted the Interim Award and with respect to

prevailing party attorney’s fees the Arbitrator emphasized this point in a footnote:

       Respondent has objected to the attorney’s fees, arguing that the wording of the
       arbitration agreement adopted in this case limits an award of attorney’s fees. An
       award of attorney’s fees, under the Illinois Consumer Fraud Act, has been
       determined as a substantive statutory remedy which cannot be modified or waived.
       815 ILCS 505/10(c); Bain v. Airoom, LLC, 2022 Ill. App. (1st) 211001; see also
       Father & Son, Inc., v. Taylor, 301 Ill. App. 3d 448 (1998).
PHH cites this reference as the Arbitrator having not fully addressed the arguments made on the

issue by both parties. But this ignores the import of the Arbitrator’s June 7, 2022 order where she

ruled against PHH on the issue “having duly heard the proofs and allegations of the Parties” and

“[u]pon review of the above-stated filings.” D.E. 51-3, p. 836. Nothing in the parties agreement,

the FAA or the AAA Rules required her to say more.

       The Arbitrator considered the arguments advanced by PHH and also the opposing

arguments and authorities presented by Albeck. She then decided the issue against PHH on the

merits. Her rulings are proper and legally supportable by the record. As now, PHH challenged the

Arbitrator’s power to award prevailing party attorney’s fees based upon a single sentence from

part of the parties’ agreement to arbitrate. That provision states in part “[E]ach party, you and we,

shall bear its own costs and expenses, including attorneys’ fees, that party incurs with respect to

the arbitration....” PHH takes a myopic view of this provision and fails to consider other provisions

of the parties’ agreement and applicable rules which, when fully considered, form a solid

foundation for the Arbitrator’s ultimate decision to look past these words as no restriction upon

her power to award prevailing party attorney’s fees. PHH then as now ignores this passage from

the same agreement: “The arbitrator shall have the authority to award any remedy or relief that a

court in the State could order or grant.” ICFA specifically authorizes the award of prevailing party

attorney’s fees. 815 ILCS 505/10a. AAA Rule 47(d) sets forth the scope of an arbitrator’s award,


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stating “The award of the arbitrator(s) may include: i. interest at such rate and from such date as

the arbitrator(s) may deem appropriate; and ii. an award of attorneys’ fees if all parties have

requested such an award or it is authorized by law or their arbitration agreement.” The arbitration

agreement also contained a severability clause allowing unenforceable provisions to be excised.

       Read in pari materia, the provisions of the arbitration agreement, incorporated AAA rules,

the FAA and ICFA’s attorney’s fee provision, provide more than ample authority to support a

conclusion of contract ambiguity, thus allowing the Arbitrator to interpret the contract in the

harmonizing manner that she did. She plausibly read the severability clause, considered the policy

implications and determined she could properly sever the offensive provision to achieve the

intended purposes underlying ICFA. The AAA rules gave her that interpretive power.

       In her Award, the Arbitrator noted that Illinois law provides that she may interpret a

contractual provision which runs counter to the public policy of Illinois by giving the decision

maker the discretion to award attorney’s fees to a party that successfully proves an ICFA claim.

To the extent that the two provisions of the parties’ agreement created ambiguity, the Arbitrator

properly construed those ambiguities in favor of arbitration and resolution of the dispute put to

her. The Arbitrator plausibly determined that a contrary reading of the contract would “deprive the

consumer of substantive remedies that should be available for full redress of her claims." Bain v.

Airoom, LLC, 2022 Ill. App. (1st) 211001, ¶ 54. “The Arbitration Act establishes that, as a matter

of federal law, any doubts concerning the scope of arbitrable issues should be resolved in favor of

arbitration, whether the problem at hand is the construction of the contract language itself or an

allegation of waiver, delay, or a like defense to arbitrability.” Moses H. Cone Memorial Hospital

v. Mercury Constr. Corp., 460 U. S. 1, 24-25 (1983). The fact that the arbitration agreement here

was post-dispute is entirely irrelevant -- the agreement to arbitrate is a contract like any other and


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is subject to the normal rules of construction. Volt Information Sciences, Inc. v. Board of Trustees

of Leland Stanford Junior Univ., 489 U. S. 468, 478 (1989). The parties bargained for the

Arbitrator’s decision on both the scope and merits of the dispute submitted. PHH cannot now

complain that it got what it paid for simply because the end product is a bit distasteful.

                                         CONCLUSION

       Plaintiff respectfully requests that the Court enter an order lifting the stay, confirm the

Award in arbitration, and enter a judgment in favor of Plaintiff, Kim Albeck and against Defendant,

PHH Mortgage Corporation, for: 1) Prevailing party attorney fees in the amount of $582,762.20;

2) Post-award interest on that amount at the rate of nine (9) percent from September 29, 2022 until

judgment satisfaction; 3) Attorney’s fees incurred in opposition to the Defendant’s motion to

vacate; and 4) Such other and further relief the Court deems just and proper.

Dated: December 15, 2022                      Respectfully submitted,

                                              KIM ALBECK

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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing PLAINTIFF'S REPLY IN
SUPPORT OF HER MOTION TO LIFT THE STAY, CONFIRM ARBITRATION FINAL
AWARD AND ENTER JUDGMENT INCLUDING POST-AWARD, PRE-JUDGMENT
INTEREST [D.E. 51] AND RESPONSE IN OPPOSITION TO DEFENDANT'S CROSS-
MOTION TO VACATE ARBITRATION AWARD [D.E. 60] was served via the Court's
Electronic Filing System on all parties and counsel of record on the following date.

Date: December 15, 2022                         By: /s/ Nick Wooten




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